       Case 4:22-cv-00083 Document 1 Filed on 01/10/22 in TXSD Page 1 of 6




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 AUDRI KUTCHINSKI                           §
                                            §
                PLAINTIFF                   §
                                            §
 VS.                                        §      CIVIL ACTION NO. ___________
                                            §
 COSTCO WHOLESALE                           §
 CORPORATION and                            §
 SCOTT HUNTINGTON                           §
                                            §
              DEFENDANTS                    §

                                NOTICE OF REMOVAL

       Defendant COSTCO WHOLESALE CORPORATION files this Notice of Removal

pursuant to 28 USC § 1446(a).

                                     I.
                   INTRODUCTION AND PROCEDURAL HISTORY

1.     Plaintiff in the above styled cause of action is AUDRI KUTCHINSKI.

2.     COSTCO WHOLESALE CORPORATION is a named defendant in this litigation.

3.     This personal injury suit arises out of a slip-and-fall incident that occurred on or

about December 29, 2019, at Defendant’s warehouse located at 1310 Jasmine Avenue

in Webster, Texas. Plaintiff alleges that she slipped and fell on “a water puddle or other

slippery substance” and sustained injuries. Plaintiff is now suing Defendant for

negligence, premises liability and exemplary damages.

4.     Plaintiff filed this suit on March 16, 2021. On December 20, 2021, Defendant first

received notice of this suit via service of process. Defendant filed its Original Answer in

State Court on January 6, 2022. Thus, Defendant files this Notice of Removal within the

thirty (30) days required under 28 U.S.C. § 1446(b).
        Case 4:22-cv-00083 Document 1 Filed on 01/10/22 in TXSD Page 2 of 6




                                             II.
                                     BASIS FOR REMOVAL

5.       Removal of this matter to federal court is proper under 28 U.S.C. § 1332 because

there exists complete diversity of citizenship between Plaintiff and Defendant and the

amount in controversy exceeds $75,000. See 28 U.S.C. § 1332; see also Exxon Mobil

Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 553–54, 125 S. Ct. 2611, 162 L.Ed.2d 502

(2005).

A.       There is complete diversity of citizenship between the Plaintiff and
         Defendant.

6.       Complete diversity of citizenship exists when all defendants are citizens of states

different from all of the plaintiffs. See Exxon Mobil Corp., 545 U.S. at 553. Corporate

entities are citizens of the state in which they are incorporated and the state in which their

principal places of business are located. See Howery v. Allstate Ins. Co., 243 F.3d 912,

920 (5th. Cir. 2001). Individuals are citizens of the state in which they are domiciled. See

Hollinger v. Home State Mut. Ins. Co., 654 F.3d 564, 571 (5th Cir. 2011). Residency in a

state is prima facie evidence that an individual is domiciled there. See id.

7.       Here, upon information and belief, Plaintiff resides and is domiciled in the State of

Texas; and thus, a citizen of that state. In contrast, Defendant is not a citizen of Texas

and is in fact a citizen of Washington, as this is its state of incorporation and its principal

place of business is located in Issaquah, Washington. Accordingly, Defendant is not a

citizen of Texas, but rather a citizen of Washington.

8.       The removing party bears the burden of showing that federal jurisdiction exists,

and that removal was proper. De Aguilar v. Boeing Co., 47 F.3d 1404, 1408 (5th Cir.

1995). A removing party can establish federal jurisdiction based on 28 U.S.C. § 1332 by


                                               2
Z\2830\Pleadings\Notice of Removal
(Federal Filing).
        Case 4:22-cv-00083 Document 1 Filed on 01/10/22 in TXSD Page 3 of 6




demonstrating that a non-diverse defendant has been “improperly joined.” Smallwood v.

Illinois Cent. R. Co., 385 F.3d 568, 573 (5th Cir. 2004). To establish improper joinder, a

removing party must show an “inability of the plaintiff to establish a cause of action against

the non-diverse party in state court.” Id. (quoting Travis v. Irby, 326 F.3d 644, 646-47 (5th

Cir. 2003). A plaintiff cannot establish a cause of action against a defendant if there is “no

reasonable basis for the district court to predict that the plaintiff might be able to recover

against” the defendant. Smallwood, 385 F.3d at 573.

9.       In her State Court Petition, Plaintiff has named SCOTT HUNTINGTON as a

Defendant. SCOTT HUNTINGTON is a resident in the State of Texas and was the

warehouse General Manager on the date of the incident in question. Despite naming

SCOTT HUNTINGTON as a defendant, Plaintiff’s State Court Petition is utterly silent as

to any alleged negligent act or omission on the part of SCOTT HUNTINTON proximately

causing Plaintiff’s accident. The State Court Petition does not allege any conduct by

SCOTT HUNTINGTON that would expose him to personal liability for the Plaintiff’s

alleged accident or injuries. The State Court Petition does not allege any negligent

conduct by SCOTT HUNTINGTON outside of his responsibilities and the General

Manager of the warehouse. A nondiverse or local defendant can be disregarded under

the improper-joinder doctrine if there is no possibility the plaintiff can establish a cause of

action against that defendant under applicable state law. A court may resolve this issue

in one of two ways. The court may conduct a Rule 12(b)(6)-type analysis, looking initially

at the allegations of the complaint to determine whether the complaint states a claim

against the in-state defendant. However, in some cases a plaintiff may state a claim, but

misstate or omit discrete facts that would determine the propriety of joinder; in such cases,


                                              3
Z\2830\Pleadings\Notice of Removal
(Federal Filing).
        Case 4:22-cv-00083 Document 1 Filed on 01/10/22 in TXSD Page 4 of 6




the district court may, in its discretion, pierce the pleadings and conduct a summary

inquiry. Smallwood, 385 F.3d at 573; see also Gray v. Beverly Enterprises-Miss., Inc.,

390 F.3d 400, 405 (5th Cir. 2004) (“the court may ‘pierce the pleadings’ and consider

summary judgment type evidence to determine whether the plaintiff truly has a

reasonable possibility of recovery”). Defendant would argue that Plaintiff’s State Court

Petition makes it abundantly clear that SCOTT HUNTINGTON was improperly joined for

the sole purpose of defeating diversity jurisdiction. For this reason, SCOTT

HUNTINGTON’S joinder is improper.

10.       Because Defendant is a citizen of Washington, and not Texas, there is complete

diversity of citizenship between the Plaintiff and Defendant in this suit. See U.S.C. § 1332.

B.       The amount in controversy exceeds the jurisdictional minimum for this
         Court’s diversity jurisdiction.

11.      Removal is proper under this Court’s diversity jurisdiction because the amount in

controversy exceeds $75,000. See 28 U.S.C. § 1332.

12.      Plaintiff’s Original Petition provides a statement concerning the amount of

monetary relief sought pursuant to Texas Rule of Civil Procedure 47(c)(4). Paragraph 2

states that “Plaintiff seeks monetary relief of more than $1,000,000.”

13.      Accordingly, based on representations in Plaintiff’s State Court Petition, the

amount in controversy exceeds the $75,000 jurisdictional minimum necessary to invoke

the Court’s original diversity jurisdiction. See 28 U.S.C. § 1332.

14.      Copies of all pleadings, process, orders, and other filings in the state court suit are

attached to this notice as required by 28 U.S.C. § 1446 (a). See Exhibit A.

15.      Venue is proper in this district and division under 28 U.S.C. § 1441 (a) because

the state court where the suit had been pending is located in this district.

                                                4
Z\2830\Pleadings\Notice of Removal
(Federal Filing).
        Case 4:22-cv-00083 Document 1 Filed on 01/10/22 in TXSD Page 5 of 6




16.      Defendant will promptly file with the Harris County District Clerk a copy of this

Notice of Removal.

                                        III.
                    STATUS OF STATE COURT ACTION BEING REMOVED

17.      The action being removed is pending in the 281st Judicial District Court, Harris

County, Texas, 201 Caroline, 14th Floor, Houston, Texas 77002, Hon. Christine Weems

Presiding.

                                            IV.
                            STATUS OF REQUEST FOR TRIAL BY JURY

18.      Plaintiff has requested a trial by jury in his Original Petition. Defendant additionally

requests a jury trial.

                                             V.
                                         CONCLUSION

19.      Removal of Plaintiff’s suit is proper because Defendant Costco Wholesale

Corporation is a citizen of Washington with its principal place of business in Issaquah,

Washington and the Plaintiff is a citizen of Texas. Defendant SCOTT HUNTINGTON has

been improperly joined for the sole purpose of defeating diversity jurisdiction. Thus, there

is complete diversity of citizenship between Costco Wholesale Corporation and Plaintiff

and the amount in controversy exceeds $75,000.




                                                5
Z\2830\Pleadings\Notice of Removal
(Federal Filing).
        Case 4:22-cv-00083 Document 1 Filed on 01/10/22 in TXSD Page 6 of 6




                                             Respectfully submitted,


                                             By: /s/ David W. Medack
                                                     David W. Medack
                                                     State Bar No. 13892950
                                                     S.D. Tex. Bar No. 15597
                                                     Heard & Medack, P.C.
                                                     14100 Southwest Freeway, Suite 300
                                                     Sugar Land, Texas 77478
                                                     Telephone: (713) 772-6400
                                                     Facsimile: (713) 772-6495
                                                     Email: dmedack@heardmedackpc.com

                                             ATTORNEY IN CHARGE FOR DEFENDANT
                                             COSTCO WHOLESALE CORPORATION


                                     CERTIFICATE OF SERVICE

       Pursuant to Rule 5(b) of the Federal Rules of Civil Procedure, I hereby certify that
a true and correct copy of the foregoing instrument to which this Certificate is attached
has duly been served upon each party by facsimile, U.S. First Class Mail and/or using the
ECF System for filing and transmittal of a Notice of Electronic Filing pursuant to the
Federal Rules of Civil Procedure on this 10th day of January, 2022.

         Michael D. Sydow
         State Bar No. 19592000
         The Sydow Firm
         3355 W. Alabama, Suite 444
         Houston, Texas 77098
         (713) 622-9700 – Telephone
         (713) 552-1949 – Telecopier
         Email: Michael.Sydow@thesydowfirm.com



                                                   /s/ David W. Medack
                                                   David W. Medack




                                               6
Z\2830\Pleadings\Notice of Removal
(Federal Filing).
